                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN
                        MILWAUKEE DIVISION
________________________________________________________________________

VICKY A. SCHNEIDER,

                     Plaintiff,

-vs-                                                    Case No: 24-CV-49

CITY OF SHEBOYGAN,

                  Defendant.
________________________________________________________________________

                        AMENDED COMPLAINT
________________________________________________________________________

                          I.      NATURE OF ACTION

       Vicky Schneider brings this civil action under Title VII against the City of

Sheboygan in order to obtain damages and other appropriate relief for unlawful

discrimination and retaliation committed against her during her employment, in

violation of the rights secured to her by these laws.

                          II.     JURISDICTION AND VENUE

       1.     The court has jurisdiction over this action under 28 U.S.C. § 1331

(federal question jurisdiction). The Eastern District of Wisconsin is the proper

venue for this action under 42 U.S.C. § 1391 (b) (2) because the Plaintiff’s claims

arose within the geographical boundaries of the Eastern District of Wisconsin.




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                                  III. PARTIES

       2.     The plaintiff, Vicky A. Schneider, is an adult resident of the State of

Wisconsin who resides in the City of Sheboygan.

       3.     The defendant City of Sheboygan (“Sheboygan”) is a Wisconsin

unit of local government, with a principal address of 828 Center Avenue, #204,

Sheboygan, Wisconsin 53081 with the capacity to sue and be sued in this Court.

                         IV. FACTUAL ALLEGATIONS

       4.     In March 2019, plaintiff was hired to work as the Director of Senior

Services for Sheboygan.     In March 2020, plaintiff became the acting Human

Resources Director and then in May 2020, she was officially promoted to Human

Resources Director, a promotion that Todd Wolf, as the then-President of the

Sheboygan Common Council, approved.

       5.     In July 2020, Sheboygan hired Wolf as its City Administrator.

Throughout the duration of her employment as the Human Resources Director,

plaintiff was under the direct supervision of Wolf.

       6.     Throughout the rest of 2020 and 2021, plaintiff met or exceeded all

reasonable expectations of her performance and received consistent praise from

Wolf for her work.

       7.     On approximately July 7, 2021, plaintiff conducted the exit

interview of a female City of Sheboygan police officer who had resigned

sometime after bringing forward a complaint of sexual harassment involving

fellow officers.
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      8.     Plaintiff was aware of the female officer’s complaint, having heard

from the City of Sheboygan Police Department that it involved allegations that

nude photographs had been shared. Plaintiff also knew that the male officers

involved in the complaint had received short suspensions.

      9.     During the female officer’s exit interview, plaintiff learned that the

allegations included far more lewd and extensive allegations of sexual

misconduct and abuse than what had been reported to her by the City of

Sheboygan Police Department.

      10.    Upon learning the severity of the allegations against the male

police officers, plaintiff expressed her concern that the sexual misconduct by the

male officers was not being taken seriously by the police department or the City,

as evidenced by the light discipline handed out to the male officers while the

female officers continued to be mistreated to the point where one resigned her

law enforcement career.

      11.    On or about July 8, 2021, Sheboygan began the process of

submitting the complaint to its insurer and soliciting an outside investigation to

be conducted.

      12.    Wolf assigned plaintiff to be Sheboygan’s contact to work with the

outside attorney investigator. Her responsibilities were to assist and facilitate

meetings, conference calls and other communications between and with the

attorney investigator, Sheboygan’s insurer, Wolf, Sheboygan’s Mayor (Ryan


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Sorenson), and Sheboygan’s City Attorney (Charles Adams). Plaintiff abided by

these instructions and was in full agreement with the plan.

       13.    As more details were gathered during the course of the

investigation, plaintiff again expressed her concern over the level of discipline

that had been given to the male officers for their conduct, stating that it sent a

message that female employees had no legitimate protection against this kind of

behavior from their male co-workers. Indeed, during the fall of 2020 and early

2021, four female officers resigned.

       14.    In response to these concerns, Wolf admonished plaintiff to “stay in

(her) lane” and told her that he did not want this situation to “taint” her and the

work she was doing for Sheboygan. He also explicitly instructed her to not

inform Sheboygan’s Common Council about the complaint or its allegations and

otherwise downplayed the significance of and her concerns about the behavior

involved.

       15.    Plaintiff received these instructions from Wolf, her supervisor, as a

threat to her job security and reputation.

       16.    On September 18, 2021, after receiving a nearly 200 page report

from the outside attorney investigator, a meeting occurred between plaintiff,

Wolf, Mayor Sorenson, and City Attorney Adams. During that meeting, plaintiff

expressed her concerns about the breadth of the allegations and the pattern of

discrimination and sexual mistreatment occurring within the City’s police

department. Among the topics she questioned during the meeting included:
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      •      That her review of the documents she received indicated a pattern of
             severe sexual harassment;
      •      That there was non-consensual sharing of nude photos of female
             officers during work;
      •      That the discipline was meager in scope (only a few officers were
             disciplined) and duration (only brief suspensions):
      •      That four female officers had resigned entirely from the police
             profession as a result of what occurred;
      •      That there is a profound lack of curiosity from the City and the police
             department about a potentially very serious allegation involving a
             female police officer that occurred during a police department
             sponsored training.

      17.      In the months that followed, plaintiff was retaliated against and

ostracized by Wolf. The retaliatory actions committed by him include at least the

following:

      •      Reduction of her staff from three human resources generalists to two;
      •      Relocation of the human resources department to the second floor
             storage room at City Hall without input from or notice to plaintiff;
      •      An Assistant City Attorney warned plaintiff that the Wolf was
             actively marginalizing her;
      •      Consistent interference, criticism, and shaming of plaintiff and the
             Human Resources department by Wolf’s assistant, who was
             instructed by Wolf to behave in this manner towards plaintiff;
      •      Disparaging plaintiff to other City officials, including telling an
             Alderperson that plaintiff was “obsessing” about the sexual
             harassment case, but that the City would be “closing the book on the
             case soon;”
      •      On October 4, 2021, Mayor Sorenson warned plaintiff that Wolf had
             her “under the microscope” because of her concerns about the sexual
             harassment case and that Wolf was using other Human Resources
             employees to spy on her;
      •      On October 6, 2021, Mayor Sorenson confessed to plaintiff that Wolf
             had been “gaslighting” and “gatekeeping” her, that Wolf has kept her
             out of meetings and communications, and that Wolf disparaged her to
             council leadership that she was obsessive about the sexual harassment
             complaint;



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      •     In early October, a newly hired human resources generalist confided
            to plaintiff that another human resources generalist had been directed
            by Wolf to spy on plaintiff and report back to him;
      •     Mayor Sorenson confirmed that at least two employees who were
            subordinates to plaintiff had been solicited by Wolf to monitor and
            report to him about her;
      •     During a meeting on November 8, 2021, Mayor Sorenson told plaintiff
            that Wolf had placed a target on her back and that he had her staff
            involved and against her and that she should “probably never meet
            with him alone anymore;”
      •     On November 11, 2021, plaintiff met with Wolf, who admitted that he
            was using her staff to actively marginalize and work against her, at
            one point suggesting that the deterioration of their relationship was
            because of the “police thing.”

      18.     As a result of the cumulative adverse effect on plaintiff of Wolf’s

treatment and the retaliation she endured expressing her concerns, plaintiff’s

physician determined her to be too emotionally and physically damaged to

resume her work and she began an approved Family Medical Leave Act

(“FMLA”) leave in November 2021.

      19.     Plaintiff remained on FMLA leave until late it exhausted in March

2022. At that point, she remained on leave without pay, due to her health

condition, pursuant to Sheboygan policy.

      20.     On May 12, 2022, Wolf notified plaintiff in writing that her leave

without pay would be exhausted on May 31, 2022 and that an update from her

medical provider was needed in order for Sheboygan to “evaluate if any further

leave can be accommodated to the degree any further leave is requested and/or

needed.”



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       21.    Because no significant change to her employment situation or

reporting structure was offered or implemented by Sheboygan that would have

allowed her to return to work safely without Wolf’s interference and ongoing

retaliation, plaintiff had no reasonable alternative other than to resign her

employment on May 31, 2022 to be effective on June 3, 2022.

       22.    Her resignation was a constructive discharge.

       23.    Sheboygan failed completely to take any preventive or corrective

measures, despite multiple opportunities to do so. Rather than take plaintiff’s

complaints seriously and make any effort to remedy her situation and prevent

further mistreatment from Wolf, Sheboygan did nothing except approve her

medical leave until she was forced to resign.

       24.    Wolf’s supervision of and interaction with Sheboygan employees,

including plaintiff, was part of his job as the City Administrator; his harassment

of and retaliation against plaintiff was only made possible by virtue of his status

as the City Administrator.

       25.    Plaintiff has properly met all administrative and procedural

prerequisites for filing this action, and files this action within 90 days of her receipt

of a notice of her right to sue from the Department of Justice Civil Rights Division

dated November 9, 2023.




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                             V. CAUSE OF ACTION

       26.    For a first cause of action against defendant Sheboygan under Title

VII, plaintiff realleges each of the preceding paragraphs as though set forth

herein.

       27.    Through the unlawful conduct described in the preceding

paragraphs, including but not limited to the continuing pattern of retaliation

plaintiff endured after engaging in protected activity by complaining about

sexual discrimination and sexual harassment, acquiescing in, condoning, and

failing to properly remedy and prevent harassment and retaliation against

plaintiff by her ultimate supervisor, Sheboygan retaliated against plaintiff in

violation of her rights under Title VII.

       28.    Sheboygan’s     conduct      as   described   above   caused   plaintiff

substantial injuries and damages including but not necessarily limited to wage

and benefit loss, loss of earning capacity, severe emotional distress, loss of

reputation and humiliation and embarrassment. Plaintiff will continue to suffer

these injuries and damages in the future.

                 VI. JURY DEMAND & PRAYER FOR RELIEF

       The plaintiff demands that the issues in the above-captioned matter be

tried by a jury of twelve persons.

       WHEREFORE, the plaintiff demands judgment as follows:

       a.     Back wages and benefits;

       b.     Front pay and benefits;
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       c.     Loss of earning capacity;

       d.     Compensatory damages in an amount to be determined;

       e.     An order finding that the defendant violated plaintiff’s rights

under Title VII;

       f.     Reasonable attorney fees and costs incurred in bringing this action

as well as reasonable fees and costs incurred during the administrative

proceedings before the Equal Rights Division; and

       g.     Such other relief as the Court may deem just and proper.

       Dated at Monona, Wisconsin this 17th day of January 2024.


                                  Respectfully submitted:

                                  Vicky A. Schneider,

                                  Plaintiff,

                                  By

                                  FOX & FOX, S.C.

                                  ATTORNEYS FOR PLAINTIFF

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